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                             UNITED STATES DISTRICT COURT
   15
                          SOUTHERN DISTRICT OF CALIFORNIA
   16
        SECURITIES AND EXCHANGE                 CASE NO. 18-cv-1895 AJB LL
   17
        COMMISSION,
   18                                           MEMORANDUM OF POINTS
   19               Plaintiff,                  AND AUTHORITIES IN
                                                SUPPORT OF PLAINTIFF’S
   20         vs.                               MOTION FOR REMEDIES
   21                                           ORDER AND ENTRY OF FINAL
        RMR Asset Management, et al.,           JUDGMENT
   22
                    Defendants.                 Judge: Hon. Anthony J. Battaglia
   23
   24                                           Date: September 25, 2020

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                                                           CASE NO. 18-CV-1895 AJB LL
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    1         Plaintiff Securities and Exchange Commission (“SEC”) respectfully submits

    2   this Memorandum of Points and Authorities in support of its motion for a remedies
    3
        order and entry of final judgment against Defendants Jocelyn Murphy (“Jocelyn
    4
    5   Murphy”) and Michael Sean Murphy (Michael Murphy”), (collectively, the

    6   “Murphy Defendants”), and Richard Gounaud (“Gounaud”), (collectively, the
    7
        “Defendants”).
    8
    9                                     INTRODUCTION

   10         The SEC filed this action alleging that, for years, Defendants acted as
   11
        unregistered brokers when they bought and sold securities, including new-issue
   12
   13   municipal bonds, on behalf of RMR Asset Management Company (“RMR”), in

   14   violation of Section 15(a)(1) of the Securities Exchange Act of 1934 (the
   15
        “Exchange Act”), 15 U.S.C. § 78o(a)(1). The SEC further alleged that Jocelyn
   16
   17   Murphy, while seeking to purchase new-issue municipal bonds, frequently lied

   18   about her residence to obtain the highest priority for her orders, thereby
   19
        committing fraud in violation of Section 10(b) of the Exchange Act, 15 U.S.C. §
   20
   21   78j, and Rule 10b-5 thereunder, 17 C.F.R. § 240.10b-5.
   22         On April 24, 2020, after the close of discovery, the SEC moved for summary
   23
        judgment against all Defendants. (Dkt. No. 115). The Court heard oral argument
   24
   25   on the motion on July 23, 2020, and, on August 14, 2020, the Court granted the
   26   SEC’s motion. (Dkt. No. 137), SEC v. RMR Asset Mgmt. Co., et al, No. 18-cv-
   27
        4195, 2020 WL 4747750 (S.D. Cal. Aug. 17, 2020). The Court found that, for
   28
                                                -1-                  CASE NO. 18-CV-4195 AJB LL
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    1   years, Defendants engaged in thousands of transactions on RMR’s behalf, using

    2   RMR’s capital, and received transaction-based compensation for this trading
    3
        activity. Id. at *1. Applying the multi-factor test set forth in SEC v. Feng, 935 F.3d
    4
    5   721, 731 (9th Cir. 2019), the Court held that the undisputed evidence showed that

    6   Defendants acted as unregistered brokers as defined by Sections 3(a)(4)(A) (15
    7
        U.S.C. § 78c(a)(4)(A)) and Section 15(a) of the Exchange Act. RMR Asset Mgmt.
    8
    9   Co., 2020 WL 4747750, at *4. The Court further found that Jocelyn Murphy

   10   fraudulently obtained new issue municipal bonds in violation Section 10(b) and
   11
        Rule 10b-5 thereunder. Id. at *5. The question now is what sanctions and other
   12
   13   remedies should result. The SEC requests an impactful remedy, one that

   14   appropriately punishes Defendants’ conduct, deters future misconduct, and sends
   15
        a clear signal to others that civil judicial enforcement of their conduct has teeth.
   16
   17   The SEC requests the Court enter final judgments requiring Defendants to pay

   18   civil penalties, enjoining all Defendants from violating Section 15(a), and
   19
        enjoining Defendant Jocelyn Murphy from violating Section 10(b) of the
   20
   21   Exchange Act and Rule 10b-5 thereunder. The SEC also requests injunctions
   22   against all Defendants enjoining specific conduct as it relates to their brokerage
   23
        accounts. Defendants’ long history of securities laws violations warrants
   24
   25   imposing the requested relief.
   26
   27
   28

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    1
    2                                        ARGUMENT
    3
        I.    The Court Should Assess Civil Penalties Against Defendants.
    4
    5         Under Section 20(d)(2) of the Securities Act and Section 21(d)(3) of the

    6   Exchange Act, the Court may impose a monetary penalty against Defendants in
    7
        an amount that is the greater of (i) his or her pecuniary gain, or (ii) specific
    8
    9   statutory amounts multiplied by the number of violations committed. See 15

   10   U.S.C. §§ 77t(d)(2), 78u(d)(3). Exchange Act Section 21(d)(3) provides for Tier
   11
        1 penalties of either $7,500 per violation (or $9,639 for acts occurring after
   12
   13   November 2, 2015) or the gross amount of pecuniary gain to a defendant as

   14   result of the violation. 15 U.S.C. § 78u(d)(3)(b)(i).
   15
              For charges involving fraud, Tier 2 penalties allow for $80,000 per
   16
   17   violation (or $96,384 for acts occurring after November 2, 2015) or gross

   18   pecuniary gain to the defendant, id. § 78u(d)(3)(b)(ii), and Tier 3 penalties for
   19
        charges involving fraud allow for $160,000 (or $192,768 for acts occurring after
   20
   21   November 2, 2015) or gross pecuniary gain to the defendant, id. §
   22   78u(d)(3)(b)(iii). See 15 U.S.C. §§ 77t(d)(2), 78u(d)(3); 17 C.F.R. § 201.1001;
   23
        Inflation Adjustments to the Civil Monetary Penalties Administered by the
   24
   25   Securities and Exchange Commission (as of January 15, 2020),
   26   https://www.sec.gov/enforce/civil-penalties-inflation-adjustments.htm; see also
   27
        SEC v. Wilde, Case No. 11-cv-0315, 2012 WL 6621747 at *16 (C.D. Cal. Dec.
   28

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    1   17, 2012) (noting a penalty may be imposed for each “violation”); SEC v. Smith,

    2   Case No. 14-cv-192, 2015 WL 5793999, at *1 n.2 (D.N.H. Oct. 1, 2015)
    3
        (holding that in determining an appropriate penalty amount, courts may look to
    4
    5   the number of statutory provisions the defendant violated); In re Reserve Fund

    6   Secs. and Deriv. Litig., Case No. 09-cv-4346, 2013 WL 5432334, at *20
    7
        (S.D.N.Y. Sept. 30, 2013) (courts also may “look to either the number of
    8
    9   violative transactions or the number of investors to whom illegal conduct was

   10   directed.”).1 Within the allowable ranges and tier levels, the total penalty
   11
        amount imposed is ultimately to be determined by the court “in light of the facts
   12
   13   and circumstances.” 15 U.S.C. §§ 77t(d)(2)(A), 78u(d)(3)(B).

   14         A.     Penalties for Section 15(a) Violations.
   15
              The SEC requests the Court apply a Tier 1 penalty for each month during
   16
   17   which Defendants Michael Murphy and Richard Gounaud violated Section

   18
   19
   20
              1
                 Several courts have stated that Section 21(d)(3) permits the assessment
        of a civil penalty for each act that violates the federal securities laws. See SEC
   21   v. Pattison, No. C-08-4238, 2011 WL 723600, at *5 (N.D. Cal. Feb. 23, 2011)
   22   (stating that “[t]he Court may assess a penalty for each distinct violation . . .”);
        SEC v. Amerifirst Funding, Inc., No. 07-cv-1188, 2008 WL 1959843, at *8-9
   23   (N.D. Tex. May 5, 2008) (finding that each of the 589 investments defendants
   24   defrauded from investors constituted separate violations of the federal securities
        laws and assessed a penalty for each violation); SEC v. Coates, 137 F. Supp. 2d
   25   413, 428-30 (S.D.N.Y. 2001) (assessing a $10,000 penalty for each of four
   26   separate, misleading statements to investors.) Applying that standard here, the
        Court could impose a tier one penalty for each of Defendants’ illegally
   27   performed trades. Based on the vast number of securities transactions the Court
   28   found, RMR Asset Mgmt. Co., 2020 WL 4747750, at *1, the Court could apply
        civil penalties amounting to millions of dollars for each Defendant.
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    1   15(a). The SEC asserts that such a penalty is appropriate, reasonable, and

    2   accounts for the long-term nature of these Defendants’ misconduct.
    3
              The Court found that Michael Murphy engaged in securities transactions
    4
    5   on behalf of RMR between November 28, 2011 and March 10, 2017, a period of

    6   sixty-five (65) months. RMR Asset Mgmt. Co., 2020 WL 4747750 at *1. The
    7
        Court similarly found that Gounaud traded on RMR’s behalf from August 14,
    8
    9   2013 through May 4, 2017, a period of forty-six (46) months. Id. Applying one

   10   Tier 1 penalty for each of the sixty-five (65) months in the period that Michael
   11
        Murphy engaged in unregistered broker activity for RMR – months where he
   12
   13   averaged nearly 150 transactions – results in total Section 15(a) penalties of

   14   $523,863.2 Applying one Tier 1 penalty for each of the forty-six (46) months in
   15
        the period that Gounaud engaged in unregistered broker activity for RMR, where
   16
   17   he averaged nearly 50 transactions per month, results in total Section 15(a)

   18   penalties of $385,641. 3 The SEC respectfully seeks penalties against Defendant
   19
        Michael Murphy and Defendant Gounaud in these amounts.
   20
   21
   22   2
          Forty-eight (48) months were before November 2, 2015 (@$7,500 per =
   23   $360,000) and seventeen (17) months were after November 2, 2015 (@$9,639 per =
        $163,863), rendering total penalties of $523,863 for Michael Murphy’s unregistered
   24   broker activity. See Inflation Adjustments to the Civil Monetary Penalties
   25   Administered by the Securities and Exchange Commission (as of January 15,
        2020), https://www.sec.gov/enforce/civil-penalties-inflation-adjustments.htm
   26   (stating inflation adjusted “tier one” penalties by time period “for natural person”
   27   under 15 U.S.C. § 78u(d)(3)).

   28   3
          Twenty-seven (27) months were before November 2, 2015 (@$7,500 per =
        $202,500), and nineteen (19) months were after November 2, 2015 (@$9,639
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    1         B.     Penalties for Jocelyn Murphy’s Fraudulent Activity.

    2         In addition to ruling that Jocelyn Murphy’s trading on behalf of RMR
    3
        violated Section 15(a), the Court held that she committed securities fraud in
    4
    5   violation of Section 10(b) and Rule 10b-5 thereunder. Given the serious nature

    6   of Ms. Murphy’s fraudulent conduct, the SEC seeks penalties based on the
    7
        number of municipal securities offerings where Jocelyn Murphy committed
    8
    9   fraud by providing false zip codes with her purchase orders.

   10         During her sixty-eight (68) months of unregistered broker activity for
   11
        RMR, Jocelyn Murphy committed fraud by providing false zip codes in
   12
   13   connection with at least twenty-one (21) municipal securities offerings.

   14   (Declaration of Laura J. Cunningham (“Cunningham Declaration”) at ¶¶ 3-23
   15
        and Exhibits 1-21.) Imposing one Tier 2 penalty for each of Ms. Murphy’s 21
   16
   17   violations of Section 10(b) and Rule 10b-5 results in fraud penalties of

   18   $1,761,920.4 In seeking this civil penalty against Ms. Murphy, the SEC is not
   19
   20   per = $183,141), rendering total penalties of $385,641 for Gounaud’s
   21   unregistered broker activity. See Inflation Adjustments to the Civil Monetary
        Penalties Administered by the Securities and Exchange Commission (as of
   22   January 15, 2020), https://www.sec.gov/enforce/civil-penalties-inflation-
   23   adjustments.htm (stating inflation adjusted “tier one” penalties by time period
        “for natural person” under 15 U.S.C. § 78u(d)(3)).
   24
        4
         Jocelyn Murphy committed fraud in connection with 16 municipal securities
   25   offerings before November 2, 2015 (@$80,000 per = $1.28M) and 5 offerings
   26   after November 2, 2015 (@$96,384 per = $481,920), rendering total fraud
        penalties of $1,761,920. (Cunningham Declaration at ¶¶ 3-23.) See Inflation
   27   Adjustments to the Civil Monetary Penalties Administered by the Securities and
   28   Exchange Commission (as of January 15, 2020),
        https://www.sec.gov/enforce/civil-penalties-inflation-adjustments.htm (stating
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    1   requesting a separate penalty based solely on her many months of unregistered

    2   broker activity that violated Section 15(a), and believes this fraud penalty
    3
        appropriately and reasonably encompasses all of Ms. Murphy’s misconduct.
    4
    5   II.   The Court Should Permanently Enjoin Defendants from Future
              Violations of Section 15(a) and Jocelyn Murphy from Violations of
    6
              Section 10(b), Rule 10b-5.
    7
    8         In addition to civil monetary penalties, the SEC seeks injunctive relief that
    9   prevents Defendants from further violating the federal securities laws. The
   10
        requested injunctions ensure that Defendants will not engage in the conduct that
   11
   12   was the subject of this lawsuit and protect investors and the marketplace alike.
   13
              A.     The SEC Seeks Injunctions from Further Violations of Section
   14                15(a) and Section 10(b), and Rule 10b-5 thereunder.
   15
   16         The SEC requests that the Court enjoin each Defendant from further

   17   violations of Sections 15(a). The SEC further requests the Court enjoin
   18
        Defendant Jocelyn Murphy from violating Section 10(b) and Rule 10b-5.
   19
   20         Each Defendant is a sophisticated investor and securities trader who

   21   bought and sold securities on behalf of RMR for years. Prior to working as an
   22
        RMR independent contractor, each defendant had a license with a U.S. securities
   23
   24   regulator. November 20, 2019, Deposition of Jocelyn Murphy (“J. Murphy Tr.”)
   25   at 21:13-23:10 (Declaration of James E. Smith (“Smith Decl.”) Ex. A);
   26
   27
   28   inflation adjusted “tier 2” penalties by time period “for natural person/fraud”
        under 15 U.S.C. § 78u(d)(3)).
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    1   November 19, 2019, Deposition of Michael Murphy (“M. Murphy Tr.”) at 12:4-

    2   17 (Smith Decl. Ex. B); November 18, 2019, deposition of Richard Gounaud
    3
        (“Gounaud Tr.”) (Smith Decl. Ex. C) at 170:16-171:16.
    4
    5         Michael Murphy and Richard Gounaud have continued to trade securities,

    6   or suggested they would continue to trade securities, in a fashion similar to the
    7
        conduct that led to this lawsuit. For example, Michael Murphy continued to buy
    8
    9   and sell securities after the SEC filed this lawsuit, using “loans” and capital from

   10   sources other than his own. M. Murphy Tr. at 32-35; 151. Gounaud also stated
   11
        that if Ralph Riccardi (“Riccardi”) did not provide the capital for Gounaud’s
   12
   13   trades, he would “go find another backer.” Gounaud Tr. at 85. As for Jocelyn

   14   Murphy, the Court found that she admitted that she lied when she submitted
   15
        “fake” zip codes and admitted that failing to provide a zip code would preclude
   16
   17   her from the highest priority order period. RMR Asset Mgmt. Co., 2020 WL

   18   4747750, at *5.
   19
              Under these circumstances, injunctive relief prohibiting future violations of
   20
   21   the securities law provisions violated by Defendants is appropriate.
   22         B.     Injunctive Relief Relating to Specific Conduct.
   23
              In addition to enjoining all Defendants from future violations of Section
   24
   25   15(a), and Jocelyn Murphy from future violations of Section 10(b) and Rule 10b-
   26   5 thereunder, the SEC also seeks injunctive relief tailored to Defendants’ specific
   27
        unregistered broker misconduct.
   28

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    1          During the years that Defendants bought and sold securities on behalf of

    2   RMR, Defendants opened their own brokerage accounts and then linked these
    3
        accounts to RMR’s prime brokerage account. RMR Asset Mgmt. Co., 2020 WL
    4
    5   4747750 at *2. Although RMR paid for the municipal bonds and other securities

    6   with capital from the RMR prime brokerage account, the initial orders for the
    7
        municipal bonds and other securities were placed via Defendants’ personal
    8
    9   brokerage accounts. To effectively police future conduct, the SEC requests an

   10   injunction enjoining Defendants, for a period of ten (10) years from the date of
   11
        the Court’s final judgment, from opening or maintaining any brokerage account
   12
   13   without providing the relevant brokerage firm a copy of the Complaint in this

   14   action and the Court’s Final Judgment. 5
   15
        III.   The Requested Remedies are Appropriate.
   16
   17          Section 21(d) of the Exchange Act authorizes the SEC to seek penalties

   18   and injunctive relief for conduct that violates the Act. 15 U.S.C. § 78u(d). Civil
   19
        penalties are “determined by the court in light of the facts and
   20
   21   circumstances.” Id. § 78u(d)(3) (B). A penalty for securities law violations
   22   should seek to achieve at least two goals: punishment of the violator and
   23
   24
   25   5
         Eleven defendants settled this matter without litigation. Riccardi and RMR
   26   consented to the imposition of a permanent injunction regarding disclosure of
        this litigation to their brokerage firms identical to what the SEC seeks against
   27   Defendants here. (Dkt. Nos. 10, 20). The remaining nine defendants, all of
   28   whose participation is similar to Defendants’ here, consented to the imposition
        of the same injunction for a period of five years. (Dkt. Nos. 1-9; 11-19; 21-22).
                                                   -9-             CASE NO. 18-CV-4195 AJB LL
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    1   deterrence to future violators. See Securities Law Enforcement Remedies Act of

    2   1990, H.R. Rep. No. 101-616, at 19-21 (1990), reprinted in 1990 U.S.C.C.A.N.
    3
        1379, 1384-86. It should also advance the goals of “encouraging investor
    4
    5   confidence, increasing the efficiency of financial markets, and promoting the

    6   stability of the securities industry.” SEC v. Palmisano, 135 F.3d 860, 866 (2d
    7
        Cir. 1998); SEC v. Spyglass Equity Sys., 2012 WL 13008422 at *3 (C.D. Cal.
    8
    9   Apr. 5, 2012). Injunctions are appropriate upon a showing that there is a

   10   “reasonable likelihood of future violations of the securities laws.” SEC v. Fehn,
   11
        97 F.3d 1276, 1295 (9th Cir. 1996). “The granting or denying of injunctive
   12
   13   relief rests within the sound discretion of the trial court.” Id. at 1295. The civil

   14   penalties and injunctive relief the SEC seeks here are appropriate given that
   15
        Defendants engaged in unlawful and deceitful conduct for years.
   16
   17          In determining the appropriateness of both penalties and injunctions,

   18   courts in the Ninth Circuit considers the factors set forth as described in Fehn,
   19
        97 F.3d at 1295-96, and SEC v. Murphy, 626 F.2d 633 (9th Cir. 1980). See SEC
   20
   21   v. Loomis, 17 F. Supp. 3d 1026, 1029-30 (E.D. Cal. 2014); Wilde, 2012 WL
   22   6621747, at *45. Those factors include:
   23
              (i)     the degree of scienter involved;
   24
   25         (ii)    the isolated or recurrent nature of the infraction;
   26         (iii)   the defendant’s recognition of the wrongful nature of his or her
   27
                      conduct;
   28

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    1         (iv)   the likelihood, because of defendant’s professional occupation, that

    2                future violations might occur; and
    3
              (v)    the sincerity of his or her assurances against future violations.
    4
    5   Murphy, 626 F.2d at 655. These factors support the remedies the SEC seeks.

    6         First, the Court held that Jocelyn Murphy violated Section 10(b) and Rule
    7
        10b-5 thereunder, finding that Ms. Murphy acted with scienter when she
    8
    9   submitted fraudulent zip codes in an effort to obtain municipal bonds. RMR

   10   Asset Mgmt. Co., 2020 WL 4747750, at *5. 6 As the Court noted, in submitting
   11
        the false zip codes to obtain bonds, “[Ms.] Murphy knew that she did not reside
   12
   13   in these zip codes . . . [and] admitted she knew failing to provide a zip code from

   14   these jurisdictions would not place her in the highest priority period….” Id.
   15
        Based on the Court’s findings, it is clear that Jocelyn Murphy acted with a high
   16
   17   degree of scienter in fraudulently obtaining municipal bonds.

   18         Second, the Court found that Defendants’ conduct was far from isolated.
   19
        RMR Asset Mgmt. Co., 2020 WL 4747750, at *1 (listing years of trading and
   20
   21   number of trades for Defendants). Each Defendant traded securities on behalf of
   22   RMR for years, executing thousands of trades using RMR’s capital. Id. As such,
   23
        Defendants’ conduct exhibited recurrent violations and warrant the remedies the
   24
   25   SEC seeks. See, e.g., SEC v. K.W. Brown & Co., 555 F. Supp. 2d 1275, 1315
   26
   27
   28   6
         As the Court is aware, scienter is not an element of Section 15(a). See Feng,
        935 F.3d at 731-33.
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    1   (S.D. Fla. 2007), supplemented (Jan. 4, 2008) (noting that misconduct occurred

    2   over 46 months and “the Court could easily impose 46 third-tier penalties
    3
        against Defendants”); In the Matter of J.S. Oliver Capital Mgmt., Lp, & Ian O.
    4
    5   Mausner, Securities Act Release No. 4431 (June 17, 2016) (Commission

    6   decision imposing separate penalties for each month in which violations
    7
        occurred).
    8
    9         Third, the evidence suggests a strong likelihood that Defendants may

   10   attempt to engage in the conduct addressed by the Court again. Gounaud and
   11
        Michael Murphy both testified under oath that as of November 2019, they were
   12
   13   engaged, or would continue to be engaged, in securities trading using capital of

   14   another person. See Gounaud Tr. at 85; M. Murphy Tr. at 32-35; 151. Indeed,
   15
        Michael Murphy admitted that his occupation was a “trader” of securities. M.
   16
   17   Murphy Tr. at 151.

   18         Finally, Defendants have not exhibited any remorse or recognition of the
   19
        wrongfulness or seriousness of their conduct. Rather than accept the SEC’s
   20
   21   settlement offer, as eleven other defendants did, Defendants chose litigation.
   22   This was their right. However, it is the manner in which Defendants exercised
   23
        that right that warrants scrutiny. Defendants asserted their positions with
   24
   25   misstatements and inconsistencies unsupported by the evidence, as the Court
   26   stated in its ruling. Ms. Murphy contended, without evidence, that there was
   27
        nothing wrong with lying about her residence to obtain securities because her
   28

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    1   brokers knew where she really lived. RMR Asset Mgmt. Co., 2020 WL 4747750,

    2   at *5. Essentially, Ms. Murphy’s defense was that it was okay to lie because
    3
        everyone knew she was doing it.
    4
    5         Further, the Murphy Defendants claimed that they were partners with

    6   Riccardi, blatantly contradicting their own prior statements, including statements
    7
        under oath, that no partnership existed between Riccardi and themselves. Id. at
    8
    9   *3-4. When the SEC pointed out these inconsistencies, the Murphy Defendants,

   10   again without proof, blamed it on their prior counsel. (May 29, 2020
   11
        Declaration of Jocelyn Murphy at ¶¶ 16-17 (Dkt. 123.1); May 29, 2020
   12
   13   Declaration of Michael Murphy at ¶¶ 20-21 (Dkt. 123.2).) Gounaud similarly

   14   claimed a partnership with Riccardi without any credible evidentiary support.
   15
        Through these actions, the Court can infer that Defendants have little remorse
   16
   17   for their conduct. Instead, at great cost to the government to pursue justice in

   18   this case, Defendants have continued to approach this matter, without
   19
        evidentiary support, as though they have done nothing improper. See generally
   20
   21   SEC v. Lybrand, 281 F. Supp. 2d 726, 732 (S.D.N.Y. 2003), aff’d sub nom. SEC
   22   v. Kern, 425 F.3d 143 (2d Cir. 2005) (penalties particularly enhanced as to those
   23
        who failed to own up to their wrong, “downplayed their own involvement,”
   24
   25   “blame[d] others,” including “their lawyer and their stock broker,” and would
   26   not cooperate with the SEC in the search for their assets); SEC v. Gowrish, No.
   27
        C 09–05883 SI, 2011 WL 2790482, *5 (N.D. Cal. Jul. 14, 2011) (“[a] ‘persons
   28

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    1   lack of remorse’ can be ‘apparent in’ the person’s ‘continued insistence on the

    2   validity of his’ conduct that has been found to be a violation) (citing Fehn, 97
    3
        F.3d at 1296). Under such circumstances, the relief the SEC seeks here is
    4
    5   appropriate and reasonable. See, e.g., SEC v. First Jersey Sec., Inc., 101 F.3d

    6   1450, 1478 (2d Cir. 1996) (finding injunctive relief appropriate where
    7
        defendant’s testimony was “belligerently evasive,” infused with claims of
    8
    9   accidental misconduct and denials of wrongdoing).

   10         Accordingly, the SEC respectfully requests the Court order penalties against
   11
        Michael Murphy in the amount of $523,863, against Gounaud in the amount of
   12
   13   $385,641, and against Jocelyn Murphy in the amount of $1,761,920. The SEC

   14   further requests that the Court enjoin all Defendants from further violations of
   15
        Sections 15(a) of the Exchange Act and enjoin Jocelyn Murphy from further
   16
   17   violations of Section 10(b) of the Exchange Act and Rule 10b-5 thereunder.

   18   Finally, the SEC requests that the Court enjoin all Defendants, for a period of ten
   19
        (10) years, from opening or maintaining any brokerage account without providing
   20
   21   the brokerage firm a copy of the Complaint and Final Judgment in this case.
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   23
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    1                                    CONCLUSION

    2         For the foregoing reasons, the SEC respectfully requests the Court grant the
    3
        SEC’s Motion for Remedies Order and Entry of Final Judgment against Defendants
    4
    5   Jocelyn Murphy, Michael Sean Murphy, and Richard Gounaud, requiring civil

    6   penalties and imposing the injunctive relief requested herein. Included with this
    7
        filing are proposed judgments for each Defendant.
    8
    9
         DATED: September 25, 2020              Respectfully submitted,
   10
   11                                           SECURITIES AND EXCHANGE
                                                COMMISSION
   12
   13                                           By: /s/ James E. Smith

   14                                                     JAMES E. SMITH
                                                         Christian Schultz
   15                                                    Laura J. Cunningham
   16                                                    Warren Greth
                                                         Cori M. Shepherd
   17
                                                         Kevin Guerrero
   18                                                    Attorneys for Plaintiff
                                                          Securities and Exchange Commission
   19
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    1                             CERTIFICATE OF SERVICE
    2         I hereby certify that, on September 25, 2020, I served Plaintiff’s Motion and
    3   Memorandum of Points and Authorities in Support of Motion for Remedies Order
        and Entry of Final Judgment on the individuals identified on the service list
    4   provided below by the following means:
    5         ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
        collection and mailing today following ordinary business practices. I am readily
    6   familiar with this agency’s practice for collection and processing of correspondence
        for mailing; such correspondence would be deposited with the U.S. Postal Service
    7   on the same day in the ordinary course of business.
    8          ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed
        envelope(s), which I personally deposited with the U.S. Postal Service. Each such
    9   envelope was deposited with the U.S. Postal Service at Los Angeles, California,
        with first class postage thereon fully prepaid.
   10
               ☐      EXPRESS U.S. MAIL: Each such envelope was deposited in a
   11   facility regularly maintained at the U.S. Postal Service for receipt of Express Mail,
        with Express Mail postage paid.
   12
              ☐      HAND DELIVERY: I caused to be hand delivered each such
   13   envelope to the office of the addressee as stated on the attached service list.
   14         ☐      UNITED PARCEL SERVICE: By placing in sealed envelope(s)
        designated by United Parcel Service (“UPS”) with delivery fees paid or provided
   15   for, which I or someone on my behalf deposited in a facility regularly maintained
        by UPS or delivered to a UPS courier.
   16
               ☒      ELECTRONIC MAIL: By transmitting the document by electronic
   17   mail to the electronic mail address as stated on the attached service list.
   18          ☒     E-FILING: By causing the document to be electronically filed via the
        Court’s CM/ECF system, which effects electronic service on counsel who are
   19   registered with the CM/ECF system.
   20         ☐     FAX: By transmitting the document by facsimile transmission. The
        transmission was reported as complete and without error.
   21
   22         I declare under penalty of perjury that the foregoing is true and correct.
   23
   24    Date: September 25, 2020                         /s/ James E. Smith
   25                                                       James E. Smith

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   27
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                  SEC v. RMR ASSET MANAGEMENT COMPANY, et al.
    1            United States District Court—Southern District of California
                               Case No. 3:18-cv-01895-AJB-LL
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